Case 2:15-cv-00102-RSM Document 94-4 Filed 09/18/15 Page 1 of 2




                EXHIBIT 4
    Case 2:15-cv-00102-RSM Document 94-4 Filed 09/18/15 Page 2 of 2



                                        Timeline
                                  Updated May 30, 2013

 Start (if applicable) Completion        Description
 Present               6/30/2013         Fact finding continues. Outside Experts (O/E)
                                         perform/complete review of IDR responses
                                         provided to date. Identify new or follow-up
                                         information needs, issue IDRs if needed, and
                                         review responses as received.
 6/10/2013           9/15/2013           O/E complete bulk of analysis. Redmond source
                                         code analysis visits completed between June 10
                                         and August 31. Requests for any identified and
                                         outstanding information needs (IDRs,
                                         interviews, etc.). Presentation to IRS of results
                                         of analysis able to perform to-date.
 9/15/2013           10/25/2013          O/E complete evaluation and report results of
                                         analysis to IRS.
 11/4/2013           11/15/2013          IRS presents conclusions to Taxpayer
 11/4/2013           4/1/2014            Dialogue with Taxpayer on Issues – Determine
                                         if Room for Resolution
                     4/1/2014            Resolution of Issue(s) or Issuance of 30-Day
                                         Letter
                     6/30/2014           Statute Extension Date

Notes:

(1) This timeline is based on the expectation that throughout fact finding process
information requests will be communicated to Taxpayer on a rolling basis and that
complete responses to IDRs will be received within 2 weeks of the IDR in question being
issued. The majority of data intensive IDRs have been issued already, and based on what
is currently known, we continue to believe that most IDRs will be issued by June 30,
particularly on non-code items. However, if at any point new information needs or
sources are identified that it is sensible to develop, we may pursue additional information
requests or interviews. Also, to date, at the request of the Taxpayer, we have used
informal interviews by phone to develop the case as quickly as possible. We may, as
previously discussed, pursue more formal interviews if deemed appropriate at some point.

(2) In response to the Taxpayer’s insistence that software code be produced and reviewed
only at the company’s clean room facility in Redmond, a preliminary investigative trip
was completed by the software OE to confirm that the code analysis could be completed
at the Redmond facility. After completing this evaluation and confirming that the
analysis could be performed in Redmond, additional funding was secured to support the
higher cost of the OE having to perform the code analysis at the Taxpayer’s Redmond
facility. The first of two anticipated 2-week visits by the OE to Redmond to complete the
code analysis has been confirmed for June 10-21. We anticipate that the second visit will
be completed between July 22 and August 31, likely either the first two weeks in that
period or the last two weeks.
